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TROUTMAN SANDERS LLP                                                   Hearing Date: December 19, 2013
The Chrysler Building                                                  at 11:00 a.m.
405 Lexington Avenue
New York, New York 10174                                               Objection Date: December 12,
Lee W. Stremba, Esq.                                                   2013 at 4:00 p.m.
Telephone: (212) 704-6000

Counsel to Aurora Cassirer, former Receiver for Starr &
Company, LLC and Starr Investment Advisors, LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re                                                    :       Chapter 7
                                                         :
KENNETH IRA STARR, et al.,                               :       Case No. 11-10219 (ALG)
                                                         :
                                               1
                                    Debtors.             :       Jointly Administered
                                                         :       Substantively Consolidated
                                                         :
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             NOTICE OF HEARING REGARDING APPLICATION FOR
         ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM FOR
        COMPENSATION AND REIMBURSEMENT OF EXPENSES OF AURORA
         CASSIRER, FORMER RECEIVER, AND TROUTMAN SANDERS LLP,
             AS COUNSEL TO THE FORMER RECEIVER, PURSUANT
             TO ORDER OF THIS COURT DATED DECEMBER 8, 2011

        PLEASE TAKE NOTICE, that on December 19, 2013, at 11:00 a.m., or as soon

thereafter as counsel may be heard, a hearing (the “Hearing”) shall be held before the Honorable

Allan L. Gropper, United States Bankruptcy Judge, United States Bankruptcy Court for the

Southern District of New York, One Bowling Green, Room 617, New York, New York 10004,

pursuant to 11 U.S.C. §§ 330(a), 503(b) and 543(c) and Rule 2002(a) of the Federal Rules of

Bankruptcy Procedure, and further pursuant to this Court’s Order Granting Motion of Robert L.

Geltzer, as Chapter 7 Trustee of Kenneth Ira Starr, for Joint Administration and Substantive

1
  The Debtors in these cases and the case number assigned to each of the Debtors are as follows: Kenneth Ira Starr
(11-10219 (ALG)); Starr & Company, LLC (11-10637 (ALG)); and Starr Investment Advisors, LLC (11-10639
(ALG)).


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  Consolidation of Estates of Kenneth Ira Starr, Starr & Company, LLC and Starr Investment

  Advisors, LLC, dated December 8, 2011 [Docket No. 65], to consider the Application of Aurora

  Cassirer (“Cassirer” or the “Receiver”), as the former Receiver for Starr & Company, LLC and

  Starr Investment Advisors, LLC, and Troutman Sanders LLP (“Troutman Sanders”), as counsel

  to the Receiver, for award of an administrative claim against the consolidated estates of the

  Debtors for compensation for services and reimbursement of expenses for the period from June

  1, 2010 through June 30, 2012, subordinate only to the chapter 7 administrative fees and

  expenses of Robert L. Geltzer, as the Chapter 7 Trustee herein, and the Trustee’s professionals

  arising from or related to the administration of the Debtors’ estates (the “Application”).

           PLEASE TAKE FURTHER NOTICE, the amounts sought by Cassirer and Troutman

  Sanders pursuant to their Application are as follows:

                                                                                    Total Fees and
                                                                                      Expenses                       Total
                                                                   Total Fees and    Previously    Total Fees and Administrative
                                   Total Fees   Total Expenses       Expenses       Allowed on an    Expenses        Claim
Professional   Fee Period          Requested      Requested         Requested       Interim Basis Previously Paid  Requested
               June 1, 2010
Aurora
               through June 30,    $98,768.75      $1,175.27        $99,944.02       $73,719.02      $25,621.00     $74,323.02
Cassirer
               2012
               June 1, 2010
Troutman
               through June 30,   $520,619.56    $24,421.00        $545,040.56      $396,683.10    $129,444.52     $415,596.04
Sanders LLP
               2012




           PLEASE TAKE FURTHER NOTICE, a copy of the Application may be obtained by

  contacting Lee W. Stremba, Esq., Troutman Sanders LLP, The Chrysler Building, 405 Lexington

  Avenue, New York New York 10174, by telephone at 212-704-6143 or by email at

  lee.stremba@troutmansanders.com. In addition, copies of the Application are available at the

  website of the United State Bankruptcy Court for the Southern District of New York at

  www.nysb.uscourts.gov.




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        PLEASE TAKE FURTHER NOTICE, that responses or objections, if any, to the relief

requested, must (i) be made in writing; (ii) state with particularity the grounds therefore; (iii)

conform to the Federal Rules of Bankruptcy Procedure and the Local Rules of the Bankruptcy

Court; (iv) be filed with the Bankruptcy Court electronically in accordance with General Order

M-399 (General Order M-399 and the User’s Manual for the Electronic Case Filing System can

be found at www.nysb.uscourts.gov, the official website for the Bankruptcy Court), by registered

users of the Bankruptcy Court’s case filing system and, by all other parties in interest, on a 3.5

inch disk, preferably in Portable Document Format (.pdf), WordPerfect, Microsoft Word or any

other Windows-based word processing format (with a hard copy delivered directly to Judge

Gropper’s Chambers); and (v) be served in accordance with General Order M-399 upon (a) The

Law Office of Robert L. Geltzer, 1556 Third Avenue, Suite 505, New York, New York 10128

(Attn: Robert L. Geltzer, Chapter 7 Trustee), (b) Special Litigation and Real Estate Counsel to

Robert L. Geltzer, as Chapter 7 Trustee, Squire Sanders (US) LLP, 30 Rockefeller Plaza, 23rd

Floor, New York, New York 10112 (Attn: Robert A. Wolf, Esq.), and (c) the Office of the

United States Trustee, 33 Whitehall Street, New York, New York 10004 (Attn: Richard

Morrissey, Esq.), and (d) the undersigned counsel to the Applicants, so that they are received

seven (7) days prior to the Hearing. i.e., by December 12, 2013, at 4:00 p.m.

        PLEASE TAKE FURTHER NOTICE, that if no objections to the Application are

timely filed, the Court may grant the relief in the Application without further notice or hearing.

        PLEASE TAKE FURTHER NOTICE, that a proposed Order, substantially in the form

annexed to the Application as Exhibit 5, will be submitted to the Court at the Hearing for

signature and entry.




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        PLEASE TAKE FURTHER NOTICE, that the Hearing may be adjourned from time to

time without further notice except for the announcement of the adjournment in open court at the

Hearing or at any adjournment thereof.

Dated: New York, New York
       November 12, 2013


                                    TROUTMAN SANDERS LLP
                                    Counsel to Aurora Cassirer, former Receiver for
                                    Starr & Company, LLC and Starr Investment
                                    Advisors, LLC

                                    By:

                                    / s / Lee W. Stremba
                                    LEE W. STREMBA
                                    The Chrysler Building
                                    405 Lexington Avenue
                                    New York, New York 10174
                                    (212) 704-6000




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TROUTMAN SANDERS LLP                                                   Hearing Date: December 19, 2013
The Chrysler Building                                                  at 11:00 a.m.
405 Lexington Avenue
New York, New York 10174                                               Objection Date: December 12,
Lee W. Stremba, Esq.                                                   2013 at 4:00 p.m.
Telephone: (212) 704-6000

Counsel to Aurora Cassirer, former Receiver for Starr &
Company, LLC and Starr Investment Advisors, LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------- x
In re                                                    :       Chapter 7
                                                         :
KENNETH IRA STARR, et al.,                               :       Case No. 11-10219 (ALG)
                                                         :
                                               1
                                    Debtors.             :       Jointly Administered
                                                         :       Substantively Consolidated
                                                         :
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      APPLICATION FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE
        CLAIM FOR COMPENSATION AND REIMBURSEMENT OF EXENSES
         OF AURORA CASSIRER, FORMER RECEIVER, AND TROUTMAN
           SANDERS LLP, AS COUNSEL TO THE FORMER RECEIVER,
        PURSUANT TO ORDER OF THIS COURT DATED DECEMBER 8, 2011

THE HONORABLE ALLAN L. GROPPER
UNITED STATES BANKRUPTCY JUDGE:

         1.        By order of the Unites States District Court, Southern District of New York (Hon.

Sidney H. Stein), dated June 1, 2010, Aurora Cassirer (“Cassirer” or the “Receiver”) was

appointed Interim Monitor for Starr & Company, LLC (“Starrco”), Starr Investment Advisors,

LLC (“SIA”) and Colcave, LLC (“Colcave”) in the proceedings entitled U.S. Securities and

Exchange Commission, Plaintiff v. Kenneth Ira Starr, Starr Investment Advisors, LLC and Starr

& Co., LLC., Defendants, Diane Passage and Colcave, LLC, Relief Defendants, Case No. 10–cv-

1
  The Debtors in these cases and the case number assigned to each of the Debtors are as follows: Kenneth Ira Starr
(11-10219 (ALG)); Starr & Company, LLC (11-10637 (ALG)); and Starr Investment Advisors, LLC (11-10639
(ALG)).


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4270 (SHS) (the “SEC Action”).           She was appointed Temporary Receiver for the same entities

by order of the District Court on June 7, 2010 and she was appointed Receiver for the same

entities by order of the District Court on July 8, 2010.2 Pursuant to authority expressly granted

to her in the orders appointing her as Temporary Receiver and as Receiver, Cassirer engaged

Troutman Sanders LLP (“Troutman”) as attorneys for the Receiver on June 7, 2010.

         2.        On December 8, 2011, this Court entered its Order Granting Motion of Robert L.

Geltzer, as Chapter 7 Trustee of Kenneth Ira Starr, for Joint Administration and Substantive

Consolidation of Estates of Kenneth Ira Starr, Starr & Company, LLC and Starr Investment

Advisors, LLC (Docket No. 65).3 The Consolidation Order recognizes and grants administrative

priority in these Chapter 7 cases to such fees and expenses of the Receiver and her counsel as

may be approved by this Court. In relevant part, the Consolidation Order provides at paragraph

13, as follows:

                 To the extent allowed by this Court pursuant to Section 330(a), 503(b) or
         543(c) of the Bankruptcy Code, after notice and an opportunity for all parties-in-
         interest, including the Trustee, to be heard in response to any application for
         allowance and payment thereof, any administrative claims of the Receiver and of
         the Corporate Debtor’s Interim Trustee, including any fees and expenses of their
         respective professionals, shall be treated as administrative claims against the
         consolidated estates of the Debtors, subordinate only to the chapter 7
         administrative fees and expenses of the Trustee and of his professionals arising
         from or related to the administration of the Debtors’ estates.

         3.        On September 14, 2012, Cassirer and Troutman filed a Request for Payment of

Administrative Claim (Claim No. 43), seeking allowance of an administrative claim in the

amount of $489,919.06, including $74,323.02 for Cassirer (as former Monitory and Receiver)

and $415,596.04 for Troutman, for the unpaid balance of compensation to which they are

2
  Copies of Judge Stein’s Orders of June 1, 2010, June 7, 2010 and June 8, 2010 are annexed as Exhibits “A”, “B”
and “C”, respectively, to Cassirer’s and Troutman’s Request for Payment of Administrative Claim (Exhibit 1 to this
Application).
3
  A copy of this Court’s Order of December 8, 2011 is annexed as Exhibit “H” to Cassirer’s and Troutman’s Request
for Payment of Administrative Claim (Exhibit 1 hereto)

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entitled for their work in the SEC Action and in connection with their participation in and

assistance provided to the Trustee for the transition of these cases to a substantively consolidated

chapter 7 trusteeship.            A copy of Cassirer’s and Troutman’s Request for Payment of

Administrative Claim is annexed hereto as Exhibit 1.

         4.        As reflected in Cassirer’s and Troutman’s Request for Payment of Administrative

Claim, Cassirer and Troutman filed two interim applications for compensation in the SEC Action

in the District Court during the period of the Receivership. Because they are voluminous,

Cassirer and Troutman did not annex to their Request for Payment of Administrative Claim

copies of Cassirer’s and Troutman’s invoices for their services rendered and expenses incurred

during the relevant periods covered by those two interim applications, or their services rendered

and expenses incurred subsequent to those periods. Complete sets of those invoices for: (a) the

periods covered by the first interim application; (b) the periods covered by the second interim

application; and (c) periods subsequent to the interim applications, are annexed hereto as

Exhibits 2, 3 and 4 respectively.

         5.        For the reasons set forth in Cassirer’s and Troutman’s Request for Payment of

Administrative Claim, and the detailed account of their services rendered and expenses incurred

as set forth in the annexed invoices, Cassirer and Troutman respectfully submit that they are

entitled to allowance of an administrative claim in the amount of $489,919.06, including

$74,323.02 for Cassirer (as former Monitor and Receiver) and $415,596.04 for Troutman, for the

unpaid balance of compensation to which they are entitled for their work in the SEC Action and

in connection with their participation in and assistance provided to the Trustee for the transition

of these cases to a substantively consolidated chapter 7 trusteeship.




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         6.        Wherefore, Cassirer and Troutman respectfully request that the Court issue an

Order, substantially in the form annexed hereto as Exhibit 5, granting an administrative claim to

Cassirer and Troutman in the amounts requested.

Dated: New York, New York
       November 12, 2013


                                       TROUTMAN SANDERS LLP
                                       Counsel to Aurora Cassirer, former Receiver for
                                       Starr & Company, LLC and Starr Investment
                                       Advisors, LLC

                                       By:

                                       / s / Lee W. Stremba
                                       LEE W. STREMBA
                                       The Chrysler Building
                                       405 Lexington Avenue
                                       New York, New York 10174
                                       (212) 704-6000




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